     Case 4:20-cv-00236-RH-MJF Document 601-1 Filed 07/20/20 Page 1 of 5
                                           FINAL 7/19/20


                 RESOLUTION OF CLAIMS AND AFFIRMATION OF
              PRINCIPLES FOR NOVEMBER 2020 GENERAL ELECTION

       WHEREAS, the Parties believe that a free and fair election remains vital to the well-
being of our Republic;

       WHEREAS, the Parties believe that the accessibility and integrity of an election are
equally important;

       WHEREAS, the Parties seek to avoid litigation whenever possible;

       WHEREAS, on June 17, 2020, Governor DeSantis issued Executive Order 20-149
concerning the Primary and General Elections in 2020;

       WHEREAS, section 1 of Executive Order 20-149 suspends the application of section
101.68(2)(a) of the Florida Statutes to the extent that provision prohibits the canvassing of vote-
by-mail ballots earlier than 7am on the 22nd day before the election;

        WHEREAS, section 1 of Executive Order 20-149 has the effect of allowing the
canvassing of vote-by-mail ballots upon the completion of logic and accuracy testing of
tabulation machines and equipment under section 101.5612(2) of the Florida Statutes;

      WHEREAS, section 2 of Chapter 2020-109 of the Laws of Florida amends section
101.5612(2) of the Florida Statutes to allow for logic and accuracy testing 25 days prior to the
commencement of early voting instead of 10 days prior the commencement of early voting;

       WHEREAS, section 2 of Chapter 2020-109 became effective on June 27, 2020; and

       WHEREAS, the Parties seek to supplement the work already being done by the
Secretary of State and other election officials throughout the State.

       NOW, THEREFORE, THE PARTIES agree as follows:

        1.     The Secretary of State (“Secretary”) shall hold at least one workshop with the
State’s Supervisors of Elections (“Supervisors”) before the November 2020 General Election to:

           a. Educate the Supervisors on the use of pre-paid postage for vote-by-mail ballots,
              encouraging them to work with the U.S. Postal Service on the use of first-class
              mail for the delivery and return of vote-by-mail ballots, and encouraging the
              Supervisors to use intelligent mail bar codes to track their vote-by-mail ballots;
           b. Educate the Supervisors on the use of Coronavirus Aid, Relief, and Economic
              Security (“CARES”) Act funds for pre-paid postage and voter accessibility issues;
           c. Educate the Supervisors on the use of CARES Act funds (and other available
              resources) to better comply with the Centers for Disease Control and Prevention’s
              (“CDC”) recommendations for election polling locations;



                                                 1
      Case 4:20-cv-00236-RH-MJF Document 601-1 Filed 07/20/20 Page 2 of 5
                                            FINAL 7/19/20


            d. Educate the Supervisors on the acquisition and use of any new voter accessibility
               technologies approved or conditionally approved by the Secretary, organizing
               with the Supervisors and funding strategic tests of available accessibility
               technology for the August 18, 2020 Primary;
            e. Encourage the Supervisors to maximize the use of drop boxes for vote-by-mail
               ballots consistent with Florida law;
            f. Encourage the Supervisors to inform voters about the availability of drop boxes
               for vote-by-mail ballots;
            g. Encourage the Supervisors to use their websites and other platforms to make vote-
               by-mail ballots request forms and ballots themselves available in Spanish; and
            h. Encourage the Supervisors to use the maximum number of early voting days
               available to them so, under Executive Order 20-149, they can avail themselves of
               additional canvassing days and maximize the availability of mandatory drop
               boxes for vote-by-mail ballots.

The workshop(s) conducted under paragraph 1 shall comply with the requirements of Rule 28-
102.001 of the Florida Administrative Code, i.e., the time and place of any workshop(s) shall be
noticed.

        2.       The Secretary shall develop a one-page document for use by Supervisors in
counties without pre-paid postage. Using CARES Act funding, or other resources available to
them, the affected Supervisors can use the one-page document to inform voters that if the voters
cannot afford return postage for their ballots, then they can return the vote-by-mail ballot at drop
boxes the Supervisor maintains or at the Supervisor’s Office. The one-page document shall also
direct voters to call their Supervisor for additional return options. Consistent with U.S. Postal
Service Policy, the Secretary shall direct Supervisors to instruct voters who call seeking
additional delivery options as follows: (a) If you cannot afford a stamp, then you can still place
your vote-by-mail ballot in the mail for delivery because the U.S. Postal Service treats such
ballots as first class mail. (b) If you do not feel confident that your vote-by-mail ballot will
arrive at the Supervisor’s Office before 7pm on Election Day, then you can drop off your ballot
at the Supervisor’s Office (or at an available drop box location).

        3.      Before the November 2020 General Election, the Secretary shall undertake a
social media or other public relation campaign to inform voters of the three available options to
vote in Florida: (1) vote-by-mail, (2) early in-person voting, and (3) in-person Election Day
voting. The campaign shall include messaging on the Secretary’s website sharing best practices
for voters to follow for vote-by-mail (e.g., mailing a ballot with sufficient time for it to reach the
Supervisor) and in-person voting (e.g., following CDC recommendations). The campaign shall
also highlight safeguards designed to protect the integrity of Florida elections. The Secretary
shall undertake efforts to promote voting options to college-age voters, communities of color,
and seniors (e.g., those in senior living facilities, nursing homes, and assisted living facilities) in
the formats available to her (e.g., Zoom, social media, or in-person). The campaign shall be
consistent with the State’s obligations under section 203 of the Voting Rights Act.

       4.      Consistent with her obligations under the multistate partnership called Electronic
Registration Information Center (“ERIC”), the Secretary commits to contacting eligible but un-

                                                   2
     Case 4:20-cv-00236-RH-MJF Document 601-1 Filed 07/20/20 Page 3 of 5
                                          FINAL 7/19/20


registered Floridians through the ERIC postcard. The Secretary’s outreach through the ERIC
postcard shall invite these Floridians to register to vote and inform them of the available methods
of voting in Florida. The postcards shall comply with the State’s obligations under section 203
of the Voting Rights Act.

        5.     The Secretary shall consider in good faith improvements to the State’s On-line
Voter Registration System during the two available maintenance windows before the November
2020 General Elections. These efforts shall remain mindful of the technological constraints on
the system and the need to minimize any downtime for the system before the November 2020
General Election. After the November 2020 General Election, but before December 31, 2021,
the Secretary shall hold a workshop to solicit ideas and information intended to improve the
system. The workshop(s) conducted under this paragraph shall comply with the requirements of
Rule 28-102.001 of the Florida Administrative Code, i.e., the time and place of any workshop(s)
shall be noticed.

        6.      Before the November 2020 General Election, the Secretary shall organize a
tabletop exercise to discuss scenarios she believes merit discussion. The exercise shall include
state and local elections officials, a representative from both major political parties, law
enforcement partners, and other officials (such as emergency management personnel) whose
input the Secretary believes would benefit the group. The goal of the exercise shall be to identify
and then share best management practices with elections officials statewide.

         7.      Within 3 days of the execution of this document, the Plaintiffs in Nielsen v.
DeSantis, Case No. 4:20-cv-236-RH and Dream Defenders v. DeSantis, Case No. 1:20-cv-67-
RH shall dismiss their claims with prejudice with the exception of claim 14 in the Dream
Defender Plaintiffs’ more definite statement (ECF No. 108, Case No. 1:20-cv-67-RH). The
Dream Defender Plaintiffs shall dismiss claim 14 with prejudice as to the State-level Defendants
within 3 days of the execution of this document; they shall dismiss claim 14 without prejudice
within 3 days of the execution of this document as to the other Defendants. The Plaintiffs’
failure to take the actions required under this section 7 will serve to invalidate this agreement.

       8.      All Parties are responsible for their own attorney’s fees and costs.


                                      Dated: July 19, 2020

                                   List of Signatories Follows

                                               ***




                                                 3
     Case 4:20-cv-00236-RH-MJF Document 601-1 Filed 07/20/20 Page 4 of 5
                                         FINAL 7/19/20


For the Nielsen Plaintiffs

/s/ John Devaney_______________
John Devaney
PERKINS COIE LLP
700 Thirteenth St., N.W., Suite 800
Washington, DC 20005-3960
(202) 654-6200 devaney@perkinscoie.com

For the Dream Defenders Plaintiffs

/s/ Stuart C. Naifeh________________
Stuart C. Naifeh
DEMOS
80 Broad St, 4th Floor
New York, NY 10004
(212) 485-6055
snaifeh@demos.org

For State Defendants
(Secretary of State, Attorney General,
and Members of Florida Election
Canvassing Commission)

/s/ Bradley R. McVay__________
Bradley R. McVay (FBN 79034)
General Counsel, Florida Department of State
500 South Bronough Street,
Tallahassee, FL 32399
(850) 245-6536
brad.mcvay@dos.myflorida.com

/s/ Jeffrey DeSousa______________
Jeffrey Paul DeSousa
Florida Bar No. 110951
Office of the Attorney General
The Capitol, PL-01
Tallahassee, Florida 32399
(850) 414-3300
Jeffrey.desousa@myfloridalegal.com

/s/ Mohammad O. Jazil__________
Mohammad O. Jazil (FBN 72556)
HOPPING GREEN AND SAMS, P.A.
119 South Monroe Street, Suite 300
Tallahassee, FL 32301

                                               4
     Case 4:20-cv-00236-RH-MJF Document 601-1 Filed 07/20/20 Page 5 of 5
                                     FINAL 7/19/20


(850) 222-7500
mjazil@hgslaw.com

For Republican Party Defendant Intervenors

s/ Benjamin J. Gibson__________
Benjamin J. Gibson
SHUTTS AND BOWEN, LLP
Fla. Bar No. 058661
215 South Monroe Street, Suite 804
Tallahassee, FL 32301
(850) 241-1717
bgibson@shutts.com

/s/ Jason Torchinsky
Jason Torchinsky
HOLTZMAN VOGEL JOSEFIAK TORCHINSKY, PLLC
2300 N. Street N.W., Suite 643A
Washington, D.C. 20037
(202) 737-8808
jtorchinsky@hvjt.law




                                          5
